Case 3:05-cr-00087-RV-MD   Document 68   Filed 01/31/06   Page 1 of 7
Case 3:05-cr-00087-RV-MD   Document 68   Filed 01/31/06   Page 2 of 7
Case 3:05-cr-00087-RV-MD   Document 68   Filed 01/31/06   Page 3 of 7
Case 3:05-cr-00087-RV-MD   Document 68   Filed 01/31/06   Page 4 of 7
Case 3:05-cr-00087-RV-MD   Document 68   Filed 01/31/06   Page 5 of 7
Case 3:05-cr-00087-RV-MD   Document 68   Filed 01/31/06   Page 6 of 7
Case 3:05-cr-00087-RV-MD   Document 68   Filed 01/31/06   Page 7 of 7
